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                                                              FILED IN CLERK'S OFFICE
                                                                  U.S.D.C•• Atlanta

               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA               NOV 30 2016
UNITED STATES OF AMERICA and
THE STATES OF GEORGIA, FLORIDA,
and TEXAS ex reI. Robert W. Douglas

Plaintiffs,                            Civil Action No:

v.                                     Hon.:          1:16-CV-4439
CARE PLUS MANAGEMENT, LLC;
PREMIER CHOICE BILLING, LLC;
HEXIT, INC. flk/a/ RADAR
HEALTHCARE PROVIDERS, INC.;            FILED UNDER SEAL
JOHN R. MORGAN MD;                     PURSUANT TO
GEORGIA MEDICAL AND                    31 U.S.C. §3730(b)(2
ANESTHESIA SERVICES, LLC;
PAUL D. WEIR;                          DO NOT PLACE IN PRESS BOX
VWTW,LLC;
JEFFREY WILLIAMS, MD;                  DO NOT ENTER ON PACER
ETX, LLC;
AND JOHN DOES (1-30); AND              JURy TRIAL DEMANDED

AC ANESTHESIOLOGY, LLC;
ATHENS GASTROENTEROLOGY
ASSOCIATION, P.C.;
ATHENS GASTROENTEROLOGY
ENDOSCOPY CENTER, INC.;
ATHENS VASCULAR SURGERY, LLC;
AU ANESTHESIOLOGY, LLC;
CF ANESTHESIA, LLC;
DC ANESTHESIA, LLC;
DEKALB ENDOSOCOPY CENTER, LLC;
DEKALB GASTROENTEROLOGY
ASSOCIATES II, LLC;
DEKALBGASTROENTEROLOGY
ASSOCIATESIII,LLC;
EXCEL ANESTHESIA, LLC;
FOOT & ANKLE CENTER OF MIDDLE
GEORGIA, LLC;
FOOT & ANKLE OF WEST GEORGIA,
P.C.;
GASTROENTEROLOGY SPECIALISTS
OF DEKALB, LLC;
GEORGIA SURGICARE, LLC;


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· GPANESTHESIOLOGY, LLC;
  INDEPENDENT ANESTHESIA, LLC;
  LC ANESTHESIOLOGY, LLC;
  MIDDLE GEORGIA
  ANESTHESIOLOGY, LLC;
  NORTHEAST GEORGIA
  ANESTHESIOLOGY, LLC;
  PEACH STATE SURGICAL CENTERS,
  INC.;
  RG ANESTHESIA, LLC;
  ROME GASTROENTEROLOGY
  ASSOCIATES, INC.;
  SC ANESTHESIOLOGY, LLC;
  SG ANESTHESIA, LLC; SOUTIIERN
  ENDOSCOPY SUITE, LLC;
  SOUTIIERN GASTROENTEROLOGY
  ASSOCIATES, L.L.C.;
  TC ANESTHESIA, LLC;
  THE FOOT & ANKLE SURGERY
  CENTER, L.L.C.;
  THE ROME ENDOSCOPY CENTER,
  INC.; UNIVERSITY SURGICAL
  ASSOCIATES OF ATHENS, PC;
  AND JOHN DOES 31-60,
  (collectively, "Georgia Entities"); AND

 AMBULATORY ANESTHESIA
 SERVICES, PLLC;
 DIGESTIVE HEALTH SPECIALISTS
 ENDOSCOPY, PLLC;
 DIGESTIVE HEALTH SPECIALISTS OF
 TYLERLLP;
 INDEPENDENT ANESTHESIA, LLC, (a
 Georgia LLC authorized to do business in
 Texas-see above);
 AND JOHN DOES 61-90 (collectively,
 "Texas Entities"); AND

 CAROLINA DIGESTIVE DISEASE, P.A.;
 CATAWBA GASTROENTEROLOGY,
 PA;
 CATAWBA GASTROENTEROLOGY
 LAND, LLC;
 LC ANESTHESIOLOGY, LLC, (a Georgia
 LLC authorized to do business in South
 Carolina-see above);


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     PALMETTO ENDOSCOPY SUITE, LLC;
     SC ANESTHESIOLOGY, LLC, (a Georgia
     LLC authorized to do business in South
     Carolina-see above);
     AND JOHN DOES 91-120 (collectively
     "South Carolina Entities"); AND

     EXCEL ANESTHESIA, LLC (a Georgia
     LLC authorized to do business in
     Alabama-see above);

     GASTRO CARE, P.C.;
     TC ANESTHESIA, LLC, (a Georgia LLC
     authorized to do business in Alabama-see
     above);
     GASTROENTEROLOGY
     CONSULTANTS OF TUSCALOOSA,
     INC.;
     AND JOHN DOES 121-150; (collectively,
     "Alabama Entities"); AND

     7 HILL GASTROENTEROLOGY, P.A.;
     CF ANESTHESIA, LLC, (a Georgia LLC
     authorized to do business in FLORlDA­
     see above);
     CENTRAL FLORIDA ENDOSCOPY &
     SURGICAL INSTITUTE OF OCALA,
     LLC;
     GASTRO CARE ASSOCIATES, LLC;
     AND JOHN DOES 150-175; (collectively,
     "Florida Entities"), jointly and severally,

     Defendants.


                           FALSE CLAIMS ACT COMPLAINT
                            AND DEMAND FOR JURy TRIAL

                                   FILING UNDER SEAL

       1.     This case is being filed under the qui tam provisions of the federal False Claims

Act ("FCA"), 31 U .S.C. §3730(b), which allows a private person to sue on behalf of the United

States (the "Government") for a violation of the False Claims Act. Supplemental counts under



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parallel State False Claims Act containing equivalent qui tam provisions are also included under

the False Claims Acts of the States of Georgia, Texas and Florida (the "States").

       2.      This Complaint is to be filed in camera and remain under seal for a period of at

least sixty (60) days and shall not be served on Defendants until the Court so orders. The

Government and/or the States may elect to intervene and proceed with the action within sixty (60)

days after it receives the Complaint.

                                 JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C.

§1331 because this action arises under the laws of the United States. The Court has supplemental

jurisdiction over the State counts pursuant to 28 U.S.C. §1367 bec~use they are part of the same

case and controversy as the federal claims.

       4.      Defendants transact business and/or reside in this District. Therefore, the Court has

personal jurisdiction over Defendants. Further, personal jurisdiction and venue are proper in this

District pursuant to 31 U.S.C. §3732(a).

       5.      Venue is also proper in this Districtpursuantto 28 U.S.C. §1391(b) and (c), because

Defendants are subject to personal jurisdiction and transact business in this District.

                                            INTRODUCTION

       6.      This is an action for damages and civil penalties brought by Relator on behalf of

the United States of America and the States arising from the Defendants' violations of:

       A.      The Federal False Claims Act, 31 U.S.C. § 3729, et seq., as amended.

       B.      Georgia Taxpayer Protection False Claims Act, codified at 23-3-120 TO 23-3-127

(as amended Ga. L. 2013, p. 141, § 231HB 79) and Georgia State False Medicaid Claims Act,

codified at 49-4-168 TO 49-4-168.6 (as amended Ga. L. 2013, p. 141, § 491HB 79)



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       C.      Texas Medical Assistance Program, Damages and Penalties, codified at Human

Resources Code § 32.039 (as amended through Acts 2007, 80th leg., Ch. 127); Texas Medicaid

Fraud Prevention (including actions by private persons), codified at Human Resources Code §§

36.001 et seq. (as amended through Acts 2013, 83nd Leg., Ch. 1311); and Texas Award for

Reporting Medicaid Fraud, Abuse, or Overcharges, codified at Government Code §§ 531.101 et

seq. (as amended through Acts 2003, 78th Leg., Ch. 198).

       D.      Florida False Claims Act, Fla. Stat. Ann. Title 6 §§68.081-68.092.

       7.      The Defendants also conduct business in the states of South Carolina and Alabama

and submit false claims to the Medicaid programs of each of those States. Neither of these two

States has qui tam provisions in their false claims acts, but because Medicaid is a program jointly

funded by the United States and each state, each false claim submitted by the Defendants in each

ofthose States is a false claim against the United States for the federal share ofthe claimed amount,

in violation of the False Claims Act, 31 U.S.C. § 3729, et seq.

       8.      In Georgia, the federal government pays for approximately sixty-eight percent of

all Medicaid health care services. See Notice, 80 Fed. Reg. 227 (Nov. 25, 2015), Table I-Federal

Medical Assistance Percentages arid Enhanced Federal Medical Assistance Percentages, Effective

October 1, 2016-September 30,2017 (Fiscal Year 2017). Accordingly, all claims or requests for

payments submitted to the Medicaid program are. subject to liability under both the federal FCA

and the Georgia State False Medicaid Claims Act.

       9.      In Texas, the federal government pays for approximately fifty-six percent of all

Medicaid health care services. Id Accordingly, all claims or requests for payments submitted to

the Medicaid program are subject to liability under both the federal FCA and the Texas State False

Medicaid Claims Act.



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        10.    In Florida, the federal government pays for approximately sixty-one percent of all

Medicaid health care services. ld Accordingly, all claims or requests for payments submitted to

the Medicaid program are subject to liability under both the federal FCA and the Georgia State

False Medicaid Claims Act.

        11.    In Alabama, the federal government pays for approximately seventy percent of all

Medicaid health care services. ld Accordingly, all claims or requests for payments submitted to

the Medicaid program are subject to liability under the federal False Claims Act.

        12.    In South Carolina, the federal government pays for approximately seventy-one

percent of all Medicaid health care services.ld Accordingly, all claims or requests for payments

submitted to the Medicaid program are subject to liability under the federal False Claims Act.

        13.    Defendants' unlawful acts in violation of the federal and State FCAs, as alleged

below, concern their submission of false claims to federal and state health care programs in a

scheme by which Defendant Care Plus Management, LLC ("CPM") obtains referrals of anesthesia

services through the payment of kickbacks to referrers; in this instance, the referrers are

gastroenterology doctors ("GIs"), vascular surgeons, podiatrists, and a few others who do surgeries

at and have ownership in ambulatory surgical centers ("ASCs") in which CPM provides anesthesia

services.

        14.    Relator is a former Senior Vice President and Chief Operating Officer of CPM. He

has direct and independent knowledge of the false claims submitted and is an "original source" of

this information within the meaning of31 U.S.C. §3730(e)(4)(B).

       15.    CPM pays kickbacks to the referrers through two modalities:




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                A. CPM fonns sham joint ventures ("N") with the referring physicians through which

                   it pays kickbacks for the referrals disguised as "profits." Sham joint ventures have

                   been the topic of significant OIG guidance, as discussed herein.

              B. CPM pays subsidies for anesthesia drugs and supplies to the referring physicians.

                   Payments for drugs and supplies to a referral source have been the subject of

                   numerous enforcement actions in this and other Districts. See, e.g., United States

                   and State o/Georgia ex rei. Adam Nauss v. Sweet Dreams Nurse Anesthesia, et al.,

                   5:14-CV-330 (Sweet Dreams agreed to pay a monetary settlement to resolve

                   allegations that it violated the False Claims Act and the Georgia False Medicaid

                   Claims Act when it provided free anesthesia drugs to ASCs in exchange for the

                  'ASCs giving exclusive contracts to provide anesthesia services at those ASCs.).

        16.        CPM's purpose for paying kickbacks is to induce referrals for services reimbursed

by government programs.

        17.        As required by the FCAs, Relator voluntarily submitted to the Government and the

States prior to the filing of this complaint a confidential written disclosure statement (subject to

the attorney-client and common interest privileges) containing all material evidence and

infonnation in his possession pertaining to the allegations contained in this Complaint.

      BACKGROUND: PHYSICIANS. ASCs, MONEY FLOW, AND OIG GUIDANCE

                                     The Specialty Physician/Surgeon

        18. .      This case involves physicians who control referrals of anesthesia because they are

not only the treating physician ofthe patient who ,is slated to receive surgery, but also the surgeon

who conducts the surgery, as well as the surgeon who owns the ASC in which the patient receives

the surgery.



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        19.      The specialty physicians at issue here are primarily gastroenterologists or "OJ"

doctors, who focus on the digestive system and conduct surgical procedures particular to that

specialty, such as colonoscopies, endoscopies, and sigmoidoscopies; but there are other specialties

also involved in the fraud, as further described below.

                                   The Practice of Anesthesiology

        20.     Anesthesiology is a practice of medicine dedicated to the relief of pain and total

care of the patient before, during and after their surgery. Anesthesiologists ("MDAs") are medical

doctors who serve a central role in the operating room and make decisions to protect and regulate

critical1ife functions.

        21.     Certified Registered Nurse Anesthetists (CRNAs) are advanced practice nurses

who also administer every type of anesthetic, work in every type of practice setting, and provide

care for every type of operation or procedure. CRNAs provide anesthetics to patients in

collaboration with and under the supervision of a medical doctor; typically, an MDA trained in

anesthesia.

                                            The Advent of Ases

        22.     The anesthesia services at issue in this case are performed in ASCs owned and

controlled by the OI and other specialty doctor/surgeons. An understanding of how these doctors

came to control the ASCs is important.

        23.     Historically, the surgical procedures at issue here were performed in hospitals,

rather than private offices, because the use of anesthesia required the safeguards of a hospital

setting equipped to handle emergencies or surgical complications. Over the last thirty years,

however, surgical techniques and technology improvements made it viable to increasingly conduct

these surgeries in outpatient facilities.



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        24.      In 1970, these developments led to the birth of the Ambulatory Surgical Center

(ASC) concept. Today, according to the Centers for Disease Control and Prevention, nearly two­

thirds of all surgeries are performed in ASCs. There are estimated to be over five thousand ASCs

across the United States.

              The Problem and the Response: Self-Referral and Anti-Kickback Laws

        25.      The moment that the specialists stood to fmancially profit from ownership in ASCs,

physician ownership of ASCs exploded, particularly in specialties that perform surgical

procedures, such as gastroenterology, which now accounts for nearly two-thirds of all procedures

performed in ASCs in the United States. Indeed, by 2010, ninety (90) percent ofASCs were owned

by physician/surgeons who self-refer.

        26.      Like hospitals, ASCs receive a facility fee from payors, which compensates the

ASC (and its owners) for use of the ASC. Because the facility fee is ancillary revenue to the ASC

owner/surgeon it incentivizes the ASC owner (who is also the referring physician) to conduct

patient procedures there, rather than in a regular hospital.

       27.       The physicians/surgeons who conduct the surgery also receive a professional fee

from payors, which compensates them for the personal services performed by them in connection

with the surgery.

       28.       The individual physician defendants in this case, excluding John R. Morgan, MD,

are OI physicians, vascular surgeons, or podiatrists with ownership interests in ASCs as further

detailed in this complaint. These physicians are not only the referrers of their patients for surgery

but also the surgeons who perform the surgery and the surgeon/owners ofthe facility in which they

perform the surgery.




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       29.     Recognizing the inherent conflict of interest that was created (a driver of

inappropriate use of services/self-referrals in ASCs), the Legislature sought to undo the problem

in two ways:

       A.      It passed a series of laws beginning in 1989 with the "Stark Law" to regulate self-

       referrals of "Designated Health Services." See 42 U.S.C. 1395nn.

       B.      It passed the Patient Protection and Affordable Care Act ("PPACA"), H.R. 3590,

       Section 6001, Pub. Law No. 111-148, III Congress 2010, which curtailed growth in

       physician ownership of surgical facilities by prohibiting both the creation of new and the

       expansion of existing physician-owned outpatient facilities. For additional infonnation on

       this topic, please see Nancy Baum, Physician Ownership in Hospitals and Outpatient

       Facilities, Center for Healthcare Research and Transformation (July 2013), which is

       attached as Exhibit 1.

       30.     The fraud in this case does not involve Stark per se because anesthesia is not a

Designated Health Service as defined by Stark, but it does involve a related statute- the Anti­

Kickback Statute-which incorporates numerous Stark provisions and which also prohibits

referrals which are induced through the payment of a financial incentive.

                                Money Flow: The Facility Fee

       31.     Medicare pays ASCs a facility fee which compensates the ASC (and its owners)

for the use of the ASC. The facility fee covers overhead costs, such as equipment, space, support

staff, and anesthesia drugs and supplies. This fee is sometimes referred to as the ''technical

component" of a claim (a bill) for surgery to Medicare.




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        32.     Centers for Medicare and Medicaid Services ("CMS',) sets Medicare

reimbursement rates for facility fees, with different rate schedules for different facility types and

procedures.

        33.     Because the facility fee is a .revenue source to the ASC owner/surgeon, it

incentivizes the ASC owner (who is also the referring physician) to conduct patient procedures

there, rather than at a regular hospital. As previously explained, the surgeon owners profit from

the facility fees, an inherent conflict of interest sought to be remedied prospectively by PPACA.

        34.    The PPACA allowed existing physician-owned hospitals to continue ifthey already

had a Medicare provider agreement in place as ofDecember 31, 2010, as is the case with the ASCs

at issue in this case. Thus, the focus ofthis lawsuit is not the facility fee generated by the physician

referrals, but rather the anesthesia fee generated by kickbacks to the referring physicians.

                       Money Flow: The Professional Fee to the Surgeon

        35.     Medicare also pays a professional fee to the physician/surgeon who conducts the

surgery, which compensates for the personal services performed by the surgeon in connection.with

the surgery. The focus of this lawsuit is not the surgeon professional fee.

    Money Flow: The Professional Fee to the Anesthesiologists and the Center of Fraud

       36.      Medicare also pays a professional fee to the MDAs and CRNAs who provide the

anesthesia services in connection with the surgery, which compensates the MDA and/or CRNA

for the personal services performed by them in connection with the surgery.

       37.     Anesthesia professionals are in separate independent professional relationships

from the surgeon. The surgeon is not entitled to a share of the anesthesia professional services fee,

even though it is the surgeon that refers the services.

       38.     It is this anesthesia professional fee that is the focus of the lawsuit.



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       39.     Over time, the specialty physicians who controlled surgical referrals of their

patients (to their own ASCs), as well as the referrals of anesthesia services for those same patients,

sought ways to profit from those anesthesia referrals. Simply put, these specialty physicians felt

entitled to capture any revenue generated by ''their'' patients, "their" surgeries, and ''their'' ASCs,

including the anesthesia revenue.

       40.     Consequently, an extensive and systematic "shake-down" of anesthesiologists and

CRNAs ensued in this space, whereby the referring-physician-ASC owners demanded a portion

of the anesthesia revenue--a kickback-in exchange for ''their'' anesthesia referrals at ''their''

ASCs. See Exhibits2A and 2B (American Association of Nurse Anesthetists ("AANA") letter to

the OIG explaining the shake down of anesthesia professionals and the creation of "company

model" schemes to cover up the kick-backs and American Society for Anesthesiologists ("ASA")

letter to the OIG explaining how anesthesia joint venture schemes not only increase health care

expenditures but also negatively impact patient safety).

       41.     The ASA has expressed concern that the anesthesia arrangement at issue "stifles

the anesthesiologists' exercise of independent medical judgment with the insistence that cases be

performed with anesthesia, without regard to medical necessity for anesthesia" which not only

drives up medical costs but also negatively impacts patient care. See Exhibit 2B at Pg. 15.

       42.     Furthermore, the ASA reports increased anesthesia utilization rates in practice

arrangements using the joint venture scheme at issue. In some instances "ASCs have in fact

increased from 45-60% utilization rates to nearly 100% once referring physicians are capturing the

anesthesia revenue stream." See Exhibit 2B at Pg. 17. ASA's conclusions are supported by eMS

data which confmns an increased use ofanesthesia services for the two procedures most performed

by GI doctors in ASCs: endoscopies and colonoscopies; specifically, CMS data shows that in parts



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of the country where anesthesia schemes are not being reported, anesthesia services for these two

procedures "occurs as little as 1.6 to 8 percent of the time" compared to "an astounding 64-81.73

percent of the time" in areas where similar joint venture schemes are reported. See Id.

        43.    While the specialty of anesthesiology has resisted this shake-down and sought fraud

enforcement against it, several anesthesia companies willing to "pay to play" have sprung up,

including CPM.

                                          THE FRAUD

                  Fraud Modality One: The Sham Joint Ventures Generally

        44.    CPM's joint venture scheme is straightforward. The principals of CPM approach

physicians either individually .or in a physician practice group, who control anesthesia referrals

and own ASCs and convinces them to enter into a joint venture for anesthesia services with CPM

by showing them how much money they can make on anesthesia through a joint venture with

CPM.

        45.    A company owned by CPM by the name of Hexit, Inc. (flklaJ Radar Healthcare

Providers, Inc. and hereinafter referred to as "Radar") assists CPM in identifying and recrUiting

physician practice groups for the joint venture schemes. Radar recruiters are paid by a commission

by CPM based on a pay structure established by Paul Weir.

        46.    Radar wears multiple hats. It is a medical staffing company which recruits CRNAs

and other medical staff for the joint ventures, it is Ii promoting company for CPM's joint ventures,

and it provides logistical support to the joint ventures (e.g., set-up, drug ordering and delivery,

etc.)

        47.    Once physicians go into joint ventures with CPM, they are encouraged to recruit

additional members in a type of pyramid scheme which allows the physician promoters to profit



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from any joint ventures they generate. See Exhibit 3B~D at ~ 5 (Non-compete and non-solicitation

agreement). (Individual physicians "will solicit prospective entities to do business with [N]

and/or the Company [CPM],,).

        48.    For example, based on the success of Nl, the referring physician/ASC owner of

NI, Dr. Jeffrey Williams, MD (in conjunction with Dr. John Morgan), created ETX, LLC for the

purpose of recruiting additional physician joint venturers.

        49.    For each potential joint venture, CPM gets details from the referring "partner" for

the total number of cases expected and the payor mix at the ASC and uses those details to prepare

projections for the potential "partners" regarding how much money they would make from

anesthesia if they entered into the joint venture.

        50.    Each referral source ends up with a joint venture anesthesia company dedicated to

that referral source's ASC (as opposed to a joint venture that provides services to the entire

community). As discussed below, the referral partners were not allowed to compete with CPM.

       51.     As part of the joint venture, the ASC is required to enter into an anesthesia

agreements with CPM (or a CPM company) which cedes control over the entire N anesthesia

operation to CPM, exactly as it would be the case if CPM simply entered into a direct anesthesia

agreement with the ASC without the joint venture.

       52.      CPM then provides all the management, staffing, and billing for the joint venture's

operations at the ASC. See Exhibit 4, Pro-forma Operating Agreement.

       53.     The joint ventures were and are nothing more than a method for CPM to lock up

referrals and pay a kickback for such referrals, the very thing the OIG warned against in 2003 and

again in 2012, as further detailed below.

               The Promoters of the Joint Venture Scheme: CPM-related Defendants


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        54.       The entities driving the joint venture scheme are Care Plus Management, LLC, Dr.

John R. Morgan, M.D. and his company Georgia Medical and Anesthesia Services, LLC; Paul D.

Weir and his company VWTW, LLC; Dr. Jeffrey Williams, MD and his company ETX, LLC; and

Hexit, Inc.,   flkJaf   Radar Healthcare Providers, Inc.

        55.       Defendant Care Plus Management, LLC is a Georgia limited liability company that

provides anesthesia management and recruitment services for ASCs in Georgia, Texas, South

Carolina, Alabama, and Florida. CPM was formed on February 1, 2010. At that time, the registered

agent was Defendant John R. Morgan, MD. The principal mailing address was 1071 Lancaster

Court, Bogart, GA, 30622 ("Bogart, GA address").

        56.       CPM's office moved in2011 to 2470 Daniells Bridge Rd, Building 100, Suite 141,

Athens, GA, 30606 ("Athens, GA address) .

      . 57.       CPM's current principal office address is 1741 Hog Mountain Road, Building 200,

Watkinsville, GA, 30677 ("Watkinsville, GA address").

       58.        Defendant Premier Choice Billing, LLC is a Georgia limited liability company that

provides billing services for CPM related companies. It was formed on March 12, 2014. The

current principal mailing address is identical to CPM's Watkinsville, GA address.

       59.        Defendant Hexit, Inc. is a Georgia profit corporation formed as Radar Healthcare

Providers, Inc. on February 16,2010. The name change was recorded on August 24,2016. Radar

Healthcare Providers, Inc. promotes joint ventures and recruits medical staffing for the joint

ventures between CPM and ASCs. The current principal office address is PO Box 6566, Athens,

GA30604.

       60.        Defendant John R. Morgan, MD is a Board-Certified, Internal Medicine physician

actively licensed in the State of Georgia who is based in Athens, Georgia. He is a Principal of



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Defendant CPM, the registered agent of Defendant ETX, LLC, and the owner of Defendant

Georgia Medical and Anesthesia Services, LLC.

       61.     Defendant Georgia Medical and Anesthesia Services, LLC is a Georgia limited

liability company formed on June 29, 2011. At that time, the registered agent was Defendant John

R. Morgan, MD. The principal mailing address was identical to CPM's Bogart, GA address. The

current principal office address is identical to CPM's Watkinsville, GA address.

       62.     Defendant Paul D. Weir is a Principal of Defendant CPM and the owner of

Defendant VWTW, LLC. He is not a physician, but is a former Director for a national anesthesia

management and recruiting ftrm with offices in six states.

       63.     Defendant VWTW, LLC is a Georgia limited liability company owned by

Defendant Paul D. Weir. It was formed February11, 2010. The current principal office address is

identical to CPM's Watkinsville, GA address.

       64.     Defendant Jeffrey Williams, MD is a Board-Certified Gastroenterologist actively

licensed in the State of Georgia based in Athens, Georgia. Defendant Jeffrey Williams, MD, owns

Athens Gastroenterology Association, PC, Athens Gastroenterology Endoscopy Center, Inc., and

is a co-owner ofETX, LLC with Defendant John R. Morgan, MD.

       65.    Defendant ETX, LLC ("ETX") is a Georgia limited liability company that promotes

joint ventures between CPM and physician owned ASCs. It was formed on March 3, 2011. At that

time the registered agent was Defendant John R. Morgan, MD. The principal mailing address was

identical to CPM's Bogart, GA address. The current principal office address is identical to CPM's

Watkinsville, GA address.

                   Structural and Operational Components of the Joint Ventures




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          66.    The structural components and documents for each JV are materially identical. Pro-

forma documents used by CPM with all ASCs and/or physician groups are attached. See Exhibit

4, Pro-forma Operating Agreement ("Operating Agreement") and Exhibit 5A, Pro-forma

Exclusive Agreement for Anesthesia Services ("Anesthesia Agreement").

          67.    Each joint venture is governed by an Operating Agreement. See Exhibit 4. At the

outset, CPM acknowledges in each JV Operating Agreement that what it is doing is legally

questionable, albeit it purports to fix this problem by stating that it "intends" to conduct its business

in a manner that does not violate the AKS by not billing federal programs unless its "satisfied"

that its operations fully meet a safe harbor. See Exhibit 4, at ~ 3.1, Operating Agreement.

          ARTICLE III
          BUSINESS OF COMPANY

          3.1 Permitted Businesses. The business of the Company shall be:

          (a) To provide professional anesthesiology services to ambulatory surgical centers and
          other medical providers (At the outset of its business, it is acknowledged by the
          Members that a level of uncertainty exists concerning Federal Anti-Kickback
          regulations, safe harbors, and safeguards in its area of practice, but the Company
          intend to conduct its business in a manner that does not violate the Federal Anti-Kickback
          Statute; therefore, whereas the Company will be providing services to patients covered by
          Federal health care programs from its origination, the Company will not bill any Federal
          health care program for services provided unless the Company is satisfied it fully meets a
          safe harbor or verified safeguards.)

(emphasis added).

          68.    The joint venturers membership interest is standardized across the JVs and is 51149

CPMfreferrer entity which typically is an ASC. However, the pro-forma operating agreement

indicates a 60/40 membership interest CPMIASe. See Exhibit 4 at Pg. 26 (Exhibit "B"), Operating

Agreement.

          69.    The initial capital contribution is less than or equal to $1.00 by each forming party.

See Id.


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        70.    Except for the initial capital contribution, "no Member shall be required to make

any Capital Contributions." See Exhibit 4 at Pg. 10 (Section 8.2), Operating Agreement.

        71.·   The joint ventures presented zero risk to anyone, least of which the referring joint

venture partner which provided nothing to the joint venture other than patients.

        72.    During the start-up phase and pending the flow of insurance money for each joint

venture, the initial operations of each joint venture were financed entirely through a line of credit

("LOC") in the name ofthe joint venture, which was always paid offthe moment insurance money

began to come in (which was abundant) no later than six months from the beginning of each JV's

operations.

       73.     Each JV provides professional anesthesiology services to the affiliated ASC. See

Exhibit 4 at Pg. 2 (Section 3.1 (a), Operating Agreement.

       74.     Net profits of each JV are "made to the Members and Economic Interest Owners

pro rata in accordance with their respective Economic Interests." See Exhibit 4 at Pg. 10 (Section

9.1), Operating Agreement.

       75.     Each JV and the ASC also enter into a Provider Agreement for anesthesia

services. The pro-forma agreement is "Exclusive," although some JV iterations eliminate the

exclusivity language from the provider agreement. Note that regardless of the iteration, the JV is

the de facto exclusive anesthesia provider at each ASC partner. See Exhibit SA Anesthesia

Agreement. (''NEW ANESTH" in the pro-forma anesthesia services agreement is the pro-forma

name for the JV between CPM and the affiliated ASC. "GASTRO" in the same document is the

pro-forma name for the affiliated referring physician group).




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       76.     Pursuant to the Provider Agreement, each N became the "provider ofProfessional

Services" to the ASC's "employed or contracted physicians." See Exhibit SA at Section 1,

Anesthesia Agreement. Per the Anesthesia Services Agreement:

       "Professional Services" means, except as otherwise provided by (ASC's] policies,
       services of a Provider in the practice of anesthesiology, including, without
       limitation, the performance of accepted procedures commonly used to render
       patients insensitive to pain during the performance of pain producing clinical
       measures and to relieve pain associated with medical syndromes and life-support
       functions associated with such services.

See Exhibit SA at Section 3.6, Anesthesia Agreement.

       77.     Under the Provider Agreement, the ASC partner (the referrers) delegates all

operational responsibilities to the N, including developing a staffing plan and the scheduling of

professional services; maintenance of CRNA certifications, licensure, and liability insurance; and

developing quality improvement and risk management programs. See Exhibit SA at Section 4,

Anesthesia Agreement:

                          RESPONSmILITES OF NEW ANESTH

       4.1     Staffing Plan and Scheduling of Professional Services: NEW ANESTH
       shall provide coverage and the services of Providers at GASTRO during the times
       described in the staffmg plan ... NEW ANESTH shall, in its judgment, retain and
       schedule a sufficient number of Providers to be expediently available at GASTRO


       4.2 Provider Qualification: At all times during the term of this Agreement,
       NEW ANESTH shall ensure that:

              4.2.1 Each provider shall (a) hold a current valid and unlimited license to
              practice nursing in the state of South Carolina with appropriate certification
              in the provision of anesthesia; ... (e) maintain current ACLS, and (t)
              maintain a $1,000,000/3,000,000 malpractice policy.

       4.3    Continuous quality improvement and risk management: In conjunction with
       GASTRO's overall quality improvement and risk management programs, NEW
       ANESTH will develop and recommend procedures designed to achieve
       consistency and quality of the Professional Services provided by Providers.



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See Exhibit SA at Section 4, Anesthesia Agreement.

        78.    Additionally, under the Provider Agreement, each N agrees to pay for all the

anesthesia drugs and supplies of the affiliated ASC and, moreover, to pay the affiliated ASC rent

to store the ASC's supplies. To wit, Section 4.S provides the following:

       NEW ANESTH Drugs and Supplies. Ifrequested by GASTRO in the performance
       of its professional Services, NEW ANESTH will reimburse GASTRO for the
       anesthetic drugs or purchase the drug separately and reimburse GASTRO for cost
       of secure storage.

See Exhibit SA at Section 4.S, Anesthesia Agreement.

       79.     The N s pay for all the drugs and supplies ofeach ASC partner as a matter ofcourse,

even though the ASC are already reimbursed for such drugs and supplies as part of the global fee

paid to the ASC by Medicare.

       80.     The payments for drugs and supplies are kickbacks for anesthesia referrals.

       81.      In return for the foregoing, each affiliated ASC and its owner referrers refer all of

their anesthesia services exclusively to the affiliated N.

       82.     CPM shares the anesthesia profits of each N with its referring partners.

       83.     These "profits" are kickbacks for anesthesia referrals.

       84.     CPM requires the referring N          partners to sign a Non-compete and Non-

solicitation Agreement. See Exhibit 3A-D, Non-compete and non-solicitation agreement.

       8S.     The Non-Compete Non-Solicitation Agreement recognizes that the sham N

"utilizes the specialized business plan of the Company [CPM]" and prohibits the referring

physician group from using the scheme without CPM. See Exhibit 3A at ~ 6, Non-compete and

non-solicitation agreement. See also Exhibit 3B-D at ~ 6, Non-compete Non-solicitation

Agreement ("[referring doctor] will obtain specific insight into the operations and business model

of the Company [CPM]"). Further, referring doctors agree not to:


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       a. run, own, manage, operate, control, be employed by, provide consulting services
       to, be a manager of, participate in, lend his name to, invest in or be connected in
       any manner with the management, ownership, operation or control of any business,
       venture, governmental or quasi-governmental agency or activity that (A) competes
       with the business or any part thereof as conducted by the Company [CPM]; or (B)
       in any way performs any activity or service that is the same as or similar to the type
       conducted, authorized offered, or provided by the Company within two (2) years
       prior to disassociation with the Company [CPM]

       *       *       *
       b. undertake the planning or organization of any business activity competitive with
       the Company [CPM] that will engage in any activity or service that is the same as
       or similar to the type conducted, authorized, offered, or provided by the Company
       [CPM]

See Exhibit 3A at ~ 6(1)(a)-(b) and Exhibit 3B-D at ~ 7(1)(a)-(b), Non-compete and Non-

Solicitation Agreement.

       86.     In sum, CPM did not want the physicians to learn the anesthesia business and set

up their own shop to compete with CPM, further evidence that the N was not a bona fide

anesthesia company.

       87.     The N anesthesia services were staffed by CPM exclusively with CRNAs, rather

than anesthesiologists, as independent contractors.

       88.     The contractors presented no risk to the Ns because, as non-employees, they only

got paid for what they actually worked.

       89.     Each CRNA entered into an Independent Contractor Agreement with the N

through which the CRNA provided anesthesia services to a particular ASC, which read as follows:

       LC Anesthesiology, LLC [N] (hereinafter referred to as "Client") agrees .to
       contract 0 CRNA, (hereinafter referred to as "Contractor") beginning May 19,
       2014, exclusively at Client's practice .location, Catawba Gastro, LLC [ASC8]
       (hereinafter referred to as "Facility") located in Lancaster, SC.




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See Exhibit 6 at Sectio.n I, fudependent Co.ntracto.r Agreement. See alSo. Id. at Sectio.n 4 (General

Pro.visio.ns), Part III ("Co.ntracto.r understands that the Client and the Facility is no.t respo.nsible fo.r

withho.lding o.r paying any taxes ...").

        90.      As independent contracto.rs,the CRNAs had to. "pro.cure and maintain pro.fessio.nal

liability insurance in the amo.unt o.f$l,OOO,OOO per o.ccurrence and $3,000,000 in aggregate." See

Id. at Sectio.n 3, Part III.

        91.      As a co.nditio.n fo.r servicing the ASCs, the CRNAs were required to. assign their

billings to. each respective JV, through which CPM billed and co.llected anesthesia revenue fro.m

go.vernment payo.rs.

        92.      Representative o.f the "shake-do.wn" to. which the ASA and the AANA refer in

Exhibits 2A-B, CPM payed the anesthesia staff o.nly a fractio.n o.f the anesthesia fees CPM

collected for anesthesia services fro.m go.vernment payo.rs (and the much higher private pay),

splitting the rest amo.ngst themselves and the anesthesia referring partners at each JV as "pro.fits"

fro.m the jo.int ventures.

        93.      All alo.ng, CPM billed go.vernment payo.rs fo.r anesthesia services (despite its pledge

to. no.t do. so. in the Operating Agreement),

        94.      fu 2011, CPM used a third-party billing co.mpany called Medical Business
           ,
So.lutio.ns ("MBS") o.ut o.fPerry, Geo.rgia The lead contact perso.n at MBS was Rho.nda Ballinger.

        95.      fu 2013, CPM mo.ved its billing to. two. o.ther billing co.mpanies, Integrated Practice

So.lutio.ns ("IPS'') and Bo.dhi Tree, because pro.cessing fees were lo.wer.

        96.     fu 2013, CPM mo.ved all its billing fo.r the JVs to. Premiere Cho.ice Billing, LLC.

        97.     At all times, the anesthesia providers at each ASC submitted the paper info.rmatio.n

that was the basis fo.r the billings (e.g., the patient's name, the Place o.f Service ("POS"), the start



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and end time of service, number of drug units used, etc.) directly to the billing company. If the

ASC in question had an electronic health records ("EHR") system, the anesthesia providers

submitted the encounter information electronically to the billing company. Ifthe ASC did not have

an EHR system, the billing company picked-up the paper records at the ASC.

        98.     The billing company received payor remittances and in turn deposited them in the

bank account for each IV.

        99.     CPM managed the books for each IV (money in and money out) using QuickBooks,

an account management software suite marketed by Intuit, Inc. and made periodic distributions to

themselves, as well as the referring IV partners.

        100.    Specifically, at all times relevant to this disclosure, John R. Morgan, MD and Paul

D. Weir, the principals ofCPM, received distributions from the IVs individually and through their

companies, Georgia Medical and Anesthesia Services, LLC and VWTW, LLC.

        101.    Likewise, CPM issued distributions to each IV referring parmer (the ASCs andlor

their owners) on a monthly basis, leaving in eachjoint venture account only between $20,000 and

$30,000 for cash flow for the next billing cycle.

        102.    By way of illustration, in January of2012, CPM's intemal documents reported that

IVI (noted as "NEGA" on the Exhibit) paid $270,000 in profit distributions to CPM (which

received $137,700) and to ASCls owners Dr. Jeffrey Williams (noted as "JW" on the Exhibit who

received $66,150) and Dr. AsifQadri (noted as "AQ" on the Exhibit who received $66,150). See

Exhibit 7 at January Distributions (page first) and at Year-to-Date Distributions (page last),

Spreadsheet of distributions to the joint venture partners.




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        103.    Similar distributions of profits were made every single month in 2012 resulting in

$2,564,600 in total profit distributions. CPM received $1,307,946 in distributions. Dr. Williams

received $628,327, and Dr. Qadri received $628,327. Id.

        104.   In July of 2012, the seventh month after N2 was formed, CPM's internal

documents reported that N2 (noted as "SC" on the Exhibit) paid $45,000 in profit distributions to

CPM (which received $22,950) and to ASC2 (noted as "Palmetto" on the Exhibit which received

$22,050). Similar distributions of profits were paid every subsequent month in 2012 resulting in

$478,000 in total profit distributions. CPM received $243,780.00 and ASC2 received $234,220.00.

See Id. at July Distributions and at Year-to-Date Distributions (last page).

        105.   In January of2012, CPM's internal documents reported that N3 (noted as "IA" on

the Exhibit) paid $83,000 in profit distributions to ETX, LLC (which received $49,800.00) and to

ASC3 (noted as "Ambulatory" on the Exhibit) owners Dr. Richard Seidel, MD and his practice

group (who received $32,200). Because N3 was one ofDr. Williams-generated joint ventures, the

profits were distributed to ETX (CPM and Williams's company) and ASC3, (rather than CPM

directly and ASC3). In point of fact, from January to October of 2012, JV3 distributed the

$971,200.00 in "profit" distributions to ETX in the amount of $550,482 (70/30 CPMlWilliams))

and to ASC3 in the amount of$420,718.00. See Id at January Distributions (first page) and at Year­

to-Date Distributions (last page).

       106.    In January of 2012, CPM's internal documents reported that JV4 (noted as "GP"

on the Exhibit) paid $81,000 in profit distributions to ETX, LLC (which received $41,310.00) and

to ASC4 (noted as "Dekalb" on the Exhibit) owners Dr. Shirley Harris, MD and her practice group

(who received $39,690.00). Because JV4 was one of Dr. Williams-generated joint ventures, the

profits were distributed to ETX (CPM and Williams's company) and ASC4 (rather than CPM



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directly and ASC4). In point of fact, from January to October of 2012, JV4 distributed the

$947,508.00 in "profif' distributions to ETX of$483,233.00 (70/30 CPMlWilliams» and to ASC4

of $464,275.00. See Id.

         107.   Indeed, from January to October of2012, ETX, LLC paid $1,032,647.00 in profit

distributions to CPM (which received $722,852.90) and Dr. Jeffrey Williams, MD (who received

$309,794.10). Care Plus Management, LLC agreed to a 70/30 money split with ETX, LLC for any

joint ventures recruited by Williams. See Id. at Year-to-Date Distributions (last page).

         108.   In February of 2012, CPM's internal documents reported that FFS1 (noted as

""MGA" on the Exhibit) paid $20,000 in profit distributions to CPM (which received $15,000)

and to Ausburn & Associates, LLC, (noted as "Ausburn" on the Exhibit), biller Rhonda Ballinger's

company (which received $5,000). Similar distributions of profits were made quarterly in 2012,

resulting in distributions to CPM of $33,750.00 and to Ausburn of $11,250.00. See Id at January

Distributions (first page) and at Year-to-Date Distributions (last page).

         109.   Ninety percent of all distributions to the JV referring partners were monthly,

meaning that 90% ofthe joint ventures were cash positive every single month after all expenses of

the joint venture were paid.

         110.   The remaining ten percent ofthe JVs did not receive monthly distributions simply

because they were in the start-up phase. However, all JVs became cash positive. None ever lost

money.

         111.   In every instance, CPM was the joint venture partner that provided the anesthesia

services and performed all operation and management fimctions, while the respective ASC

partners provided nothing other than patients for whom they got paid back a portion of the profits.




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        112.    The joint ventures are nothing more than a method for CPM to lock up referrals and

pay a kickback for such referrals, the very thing the 010 warned against in 2003 and 2012.

        113.   A detailed list ofJVs is provided starting at paragraph 145 of this complaint.

                                            OIG 2003 Opinion

        114.   The type of operation run by CPM was the subject of guidance by the 010, which

expressed concern about joint ventures when one entity is able to refer business to another that

furnishes services for which the Federal health care program pays. See Special Advisory Bulletin,

"Contractual Joint Ventures," 68 FR 23148 (Apr. 30,2003) (Exhibit 8A).

        115.   In that Special Advisory Bulletin, the 010 detailed questionable arrangements

where a health care provider in one line ofbusiness, such as an ASC (referenced as "owner" in the

Bulletin), expands into a related health care business by contracting with an existing provider of a .

related item or service, such as CPM (referenced as "supplier" in the Bulletin), to provide the new

item or service to the ASC's existing patient population, including Federal health care program

patients.

        116.   The 010 pointed out that those sham ventures often involve the supplier-here, the

anesthesia company-not only managing the new line of business, but also supplying it with

inventory, employees, billing, and other services.

        117.   Exclusivity is often a requirement of the joint venture.

        118.   Basically, the joint venture in these sham arrangements consists of the ASC

contracting out substantially the entire operation of the related anesthesia services that is the

subject ofthe joint venture to the supplier ofsuch services, such as CPM. The supplier would have

been a potential competitor to the joint venture otherwise, but in creating these sham arrangements,

the ASC receives in return the profits ofthe business as remuneration for federal program referrals.



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        119.   Each joint venture between CPM and a referring physician!ASC fits squarely within

the parameters of the DIG advisory opinion.

        120.    The referring physicians/ASC expanded into a related line of business-an

anesthesia company-which is dependent on referrals from, or business generated by the referring

physicians'/ASC's existing business.

        121.   Similarly, the referring physicians!ASC contracted out substantially all of the

operations of the new business to CPM, an anesthesia supplier already in that business.

        122.   Further, CPM (directly and through related entities as detailed below) agreed to

provide not only the management services, but all other necessary services to run the business,

such as anesthesia personnel, billing, support, etc.

        123.   Moreover, as in the DIG opinion, the referring physicians'/ASCs' actual business

risk in the CPM scheme was and is minimal (if any) because the referring physicians/ASCs have

a captive patient base and the sole ability to influence referrals to the new business.

        124.   Indeed, CPM was assured exclusivity, contractual or de facto, through the

arrangement when the N became the exclusive provider ofanesthesia services at the ASC.

        125.   Further, absent the joint venture, CPM would have been a competitor of the

referring physicians!ASCs new line of business.           As a result of the N, the referring

physicians!ASCs are not allowed to compete with CPM or the N. See Exhibit 3A-D Non-compete

and non-solicitation agreement.

       126.    As in the DIG opinion, the referring physicians/ASCs and CPM share in the

economic benefit of the new joint venture because the anesthesia provider takes its share in the

form of payments under the various contracts with the ASCs and the referring physicians!ASCs

receive their share from the residual profit from the new business.



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        127.   Finally, the payments to the referring physicians/ASCs vary with the value or

volume of business referred to CPM. The higher the referral volume, the bigger the revenue. See

Exhibit 7 (Spreadsheet of distributions to the joint venture partners).

                                            OIG 2012 Opinion

        128.   Consistent with its earlier opinion, the OIG issued another Advisory Opinion in

2012 (No. 12-06) (attached as Exhibit 8B). There, the OIG opines on a Requestor's request for

guidance regarding two proposals by an anesthesia services provider regarding entry into contracts

with physician-owned professional corporations or limited liability companies to provide

anesthesia services.

       129.    The Requestor inquired whether the proposed business arrangements constituted

grounds for sanctioning under the exclusion authority at section 1128(b)(7) of the Social Security

Act (the "Act"), or the Civil Monetary Penalty provision at section 1128A(a)(7) of the Act, as

those sections relate to the commission of acts described in section 1128B(b) of the Act, the

Federal Anti-Kickback Statute. See Id. at page first,   ~   1.

       130.    The first proposal involved double paying physicians for facility fees by way of a

per-patient management fee paid to the ASC, even though those fees were not collected from

Federal health care program patients. See Id. at Section I(B).

       131.    After analyzing the first proposal under the AKS's regulatory framework

(discussed below), the OIG concluded that, even if federally funded patients were "carved out" of

the scheme, the proposed arrangement implicates the AKS because the management fees would

be paid to induce referrals. Indeed, the physician owned ambulatory surgical center would be paid

twice for the same services, once from the anesthesia services company and once from the

Medicare facility fee. Further, the OIG concluded that the additional compensation could unduly



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 influence the ASC to use the anesthesia services company as the exclusive provider of anesthesia

. services, which would be antithetical to the fundamental purpose of the anti-kickback statute to

 ensure that physician referrals are based on sound medical judgment and that health care

 professionals will compete for business based on quality and convenience rather than by paying

 for referrals. In sum, the OIG concluded the arrangement implicated the AKS. See Id. at Section

 II(B)(1).

         132.   The second arrangement at issue for the OIG involved physician/owners ofan ASC

establishing an anesthesia management company for the purpose ofproviding exclusive anesthesia

services at the physician's ASC. See Id. at Section I(C).

         133.   The second arrangement followed the same fate as the first -likely violations of

the AKS-for different reasons; to wit, the OIG's long running concern that physician investment

in ASCs where the physicians also refer patients may serve to reward referrals rather than re~ard

sound medical judgment. In fact, when the ASC safe harbor rule was promulgated, OIG stated its

main concern was that "a return on investment in an ASC might be a disguised payment for

referrals." See 64 Fed. Reg. 63,536 (Nov. 19, 1999). See Id. at Section II(B)(2).

        134.    In the arrangement under OIG review, the ASC physician owners established

separate companies for the purpose of providing anesthesia-related services to outpatients

undergoing surgery at their ASCs. The OIG concluded that these companies were tantamount to

the sham joint venture agreements identified in the OIG April 2003 guidance. To wit, these joint

ventures were owned by the physician PCs and LLCs; the joint venture would exclusively furnish

and bill for all anesthesia-related services provided at the surgical centers; and the joint venture

would, in turn, engage the anesthesia service provider ("AP") as an independent contractor to




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provide anesthesia-related services to the ASCs on an exclusive basis; all arrangement features

that met the elements and characteristics ofthe joint venture in the 2003 guidance.

        135.    More specifically, Opinion 12-06 identified services provided by the AP which are

identical in substance to those services provided by CPM in this case:

           a. recruiting. credentialing, and scheduling anesthesia personnel;
           b. ordering and maintaining supplies and equipment;
           c. assisting the ASCs in selecting and working with a reputable anesthesia billing
              company;
           d. monitoring and overseeing regulatory compliance;
           e. providing financial reports;
           f. implementing quality assurance programs; and
           g. providing logistics (including, if necessary, assisting the ASCs in structuring
              independent contractor or employment relationships with anesthesia personnel and
              assisting in establishing a separate anesthesia corporation).

See Id. at Section I(C).

        136.   In this second proposed arrangement, the ASC would pay a negotiated rate for the

services. This is tantamount to what each ASC pays each CPM joint venture in this case.

        137.   The fees for the services in the second proposed arrangement would be paid out of

the collections made by the joint venture for anesthesia-related services, with the joint venture .

retaining any profits, exactly as is the case with CPM'sjoint ventures.

        138.   The DIG noted that no safe harbor would apply because such payment on the profits

would be prohibited under the anti-kickback statute if one purpose of that remuneration is to

generate or reward referrals for anesthesia services. See Id. at Section II{B)(2).

       139.    DIG further opined that this second proposed arrangement posed more than a

minimal risk of fraud and abuse. As discussed previously regarding DIG's guidance on joint

ventures, the DIG has long-standing concerns about arrangements between those in a position to

refer business, such as the ASC physician-owners here. and those furnishing items or services for




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which Medicare or Medicaid pays, especially when all or most ofthe business ofthe joint venture

is derived from one or more ofthe joint venturers. See Id.

        140.    The OIG recognized that this arrangement shared several common elements with

the suspect joint venture arrangements previously analyzed in the Special Advisory Bulletin on

"Contractual Joint Ventures." See 68 Fed. Reg. 23,148 (Apr. 30, 2003) (the "Special Advisory

Bulletin"). Like the Owner in the arrangement described in the April 2003 Special Advisory

Bulletin, the ASC's physician-owners would be expanding into a related line of business­

anesthesia services-that would be wholly dependent on the ASC's referrals.

        141.   The ASC's physician-owners would not actually participate in the operation ofthe

joint venture but rather would contract out substantially all of the operations exclusively to the

anesthesia services provider. And like the Owner in the Special Advisory Bulletin in 2003, the

ASC's physician-owners' actual business risk would be minimal because they would control the

amount of business they would refer to the joint venture.

        142.   In light of the foregoing, the OIG concluded that these arrangements are designed

to permit the ASC's physician-owners to do indirectly what they cannot do directly; that is, to

receive compensation, in the form of a portion of anesthesia service revenues, in return for their

referrals to the anesthesia services provider.

        143.   The OIG's conclusion was further supported by the Requestor's claim of market

pressure (from the ASCs) to enter into the Proposed Arrangements in order to compete with other

anesthesia groups in the area who engaged in similar schemes, exactly as is the case with CPM.

See Id. at Section I(A). In other words, the anesthesia provider in the proposed arrangement must

"pay to play" or lose the ASC's business, as is the case with CPM.




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        144.   This case fits squarely within the parameters outlined by the OIG in its multiple

guidance opinions. CPM is that provider of anesthesia services which has entered into sham joint

ventures with its referral sources in order to lock in a stream of anesthesia referrals and disguise

the payment ofkickbacks to those providers as profits ofthe joint venture in violation ofthe OIG

guidance opinions, the AKS, and the False Claims Act, as further detailed below.

                                               The Joint Ventures

               N1:

        145.   Defendant Northeast Georgia Anesthesiology, LLC is a Georgia limited liability

company and a joint venture ("N1") between CPM, ETX, and Athens Gastroenterology

Endoscopy Center, Inc ("ASCI").

       146.    N1 was fonned March 29, 2010. At that time, the registered agent was Defendant

John R. Morgan, MD. The principal mailing address was identical to CPM's Bogart, GA address.

The current principal office address is identical to CPM's Watkinsville, GA address.

       147.    Defendant Athens Gastroenterology Endoscopy Center, Inc. ("ASC 1") is a Georgia

profit corporation that operates as an ASC. ASCI is owned by Drs. Jeffrey Williams, MD, and

Asif Qadri, MD.

       148.    Defendant Athens Gastroenterology Association, P.C. (the "Practice") is a Georgia

professional corporation which is also owned by Drs. Jeffrey Williams, MD, and Asif Qadri, MD

who use it to conduct their private medical practice and make referrals to N 1 and ASC 1.

       149.    Both the ASCI and the Nl referring partners are located at 3320 Old Jefferson

Road, Building 400, Athens, GA 30607. For purposes ofthe fraud at issue in the case, the referring

partners are one and the same.




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        150.   Defendant SC Anesthesiology, LLC is a Georgia limited liability company

registered as a South Carolina Foreign Limited Liability Company. It as a joint venture ("JV2")

between CPM and Palmetto Endoscopy Suite, LLC ("ASC2").

       151.    JV2 was formed December 22, 2011. At that time, the registered agent was

Defendant John R. Morgan, MD. The principal mailing address was identical to CPM's Bogart,

GA address. The current principal office address is identical to CPM's Watkinsville, GA address.

       152.    Defendant Palmetto Endoscopy Suite, LLC ("ASC2") is a South Carolina limited

liability company that operates as an ASC. ASC2 is owned by Drs. George A. Jenkins III, MD,

Spencer J. Jenkins, MD, and Daniel Tupper Iseman, MD.

       153.    Defendant Carolina Digestive Disease, P.A. (the "Practice") is a South Carolina

professional association which is also owned by Drs. George A. Jenkins III, MD, Spencer J.

Jenkins, MD, and Daniel Tupper Iseman, MD and is used to conduct their private medical practice

and make referrals to JV2 and ASC2.

       154.    Both the ASC2 and the JV2 referring partners are located at 1520 Taylor Street,

Suite 200, Columbia, SC, 29201. For purposes of the fraud at issue in the case, the referring

partners are one and the same.

       JV3:

       155.    Defendant Independent Anesthesia, LLC is a Georgia limited liability company

registered with the Texas Secretary of State to transact business in Texas. It is a joint venture

("JV3") between CPM, ETX, and Digestive Health Specialists Endoscopy, PLLC ("ASC3A")

and/or Ambulatory Anesthesia Services, PLLC ("ASC3B") collectively ("ASC3").




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        156.   JV3 was fonned March 3, 2011. At that time the registered agent was Defendant

John R. Morgan, MD. The principal mailing address was identical to CPM's Bogart, GA address.

The current principal office address is identical to CPM's Watkinsville, GA address.

        157.   Defendant Digestive Health Specialists Endoscopy, PLLC ("ASC3A") is a Texas

professional limited liability company that operates as an ASC. Its principal office address is 1720

S. Beckham Avenue, Tyler, TX, 75701. ASC3 is owned by Drs. Richard H. Seidel, Jr., MD and

George A. Duvall, MD.

       158.    Defendant Ambulat?ry Anesthesia Services, PLLC ("ASC3B") is a Texas

professional limited liability company that operates as an ASC. ASC3 is owned by Drs. Richard

H. Seidel, Jr., MD and George A. Duvall, MD.

       159.    Defendant Digestive Health Specialists of Tyler, LLP is a Texas limited liability

partnership (the "Practice") which is also owned by Dr. Richard H. Seidel, Jr., MD and George A.

Duvall, MD, and is used to conduct their private medical practice and refer to JV3 and ASC3.

       160.    Both the ASC3 and the JV3 referring partners are located at 1720 S. Beckham

Avenue, Tyler, TX, 75701. For purposes ofthe fraud at issue in the case, the referring partners are

one and the same.

       JV4:

       161.    Defendant GP Anesthesiology, LLC is a Georgia limited liability company and a

joint venture ("JV4") between CPM, ETX, and Gastroenterology Specialists of Dekalb, LLC

("ASC4").

       162.    JV4 was fonned May 12,2011. At that time the registered agent was Defendant

John R. Morgan, MD. The principal mailing address was identical to CPM's Bogart, GA address.

The current principal office address is identical to CPM's Watkinsville, GA address.



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       163.     Defendant Gastroenterology Specialists of Dekalb, LLC, ("ASC4") is a Georgia

limited liability company that operates both as a Practice and an ASC.

       164.     Although ASC4 is not licensed as an ASC, Dr. Harris performs outpatient surgeries

there. ASC4's principal office address is 3292 Mountain Drive, Decatur, GA, 30032.

       16S.     The Practice/ASC4 is owned by Dr. Shirley Harris, MD who uses it to it refer

anesthesia cases to N4.

       JV5:

       166.     Defendant DC Anesthesia, LLC is a Georgia limited liability company and a joint

venture ("NS") between CPM, ETX, and Dekalb Endoscopy Center, Inc.("ASCS").

       167.     N S was formed December 3, 2014. The current principal office address is identical

to CPM's Watkinsville, GA address.

       168.     Defendant Dekalb Endoscopy Center, LLC ("ASCS") is not recorded as a Georgia

limited liability company, though it carries the LLC designation in its name. It is identified by

National Provider Identifier ("NPI") number 149789S676 as an ASC. ASCS is owned by Dr. Mark

A. Stern, MD.

       169.     Defendant Dekalb Gastroenterology Associates II, LLC (the "Practice") is a

Georgia limited liability company through which Dr. Mark A. Stem, MD conducts his private

medical practice and refers to NS and ASCS.

       170.     Defendant Dekalb Gastroenterology Associates III, LLC (the "Practice") is a

Georgia limited liability company through which Dr. Mark A. Stem, MD conducts his private

medical practice and refers to NS and ASCS.




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       171.    Both the ASC5 and the N5 referring partners are located at 2675 North Decatur

Road, Suite 110, Decatur, GA, 30033. For purposes of the fraud at issue in the case, the referring

partners are one and the same.

       JV6:

       172.    Defendant SG Anesthesia, LLC is a Georgia limited liability company and a joint

venture ("N6") between CPM and Southern Endoscopy Suite, LLC ("ASC6").

       173.    N 6 was formed December 1,2012. At that time the registered agent was Defendant

John R. Morgan, MD. The principal mailing address was identical to CPM's Athens, GA address.

The current principal office address is identical to CPM's Watkinsville, GA address.

       174.    Defendant Southern Endoscopy Suite, LLC ("ASC6") is a Georgia limited liability

company that operates as an ASC. ASC6 is owned by Drs. Mark Kukler, DO and Scott Schorr,

MD.

       175.    Defendant Southern Gastroenterology Associates, LLC ("the Practice") is a

Georgia limited liability company through which Drs. Mark Kukler, DO and Scott Schorr, MD

conduct their private medical practice and refer to Jv6 and ASC6.

       176.    Both the ASC6 and the JV6 referring partners are located at 763 Old Norcross

Road, Lawrenceville, GA, 30045. For purposes of the fraud at issue in the case, the referring

partners are one and the same.

       JV7:

       177.   Defendant Excel Anesthesia, LLC is a Georgia limited liability company registered

as an Alabama foreign limited liability company. It is ajoint venture ("N7") between CPM and

Gastroenterology Consultants of Tuscaloosa, Inc ("ASC7").




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        178.   JV7 was formed August 27,2015. The current principal office address is identical

to CPM's Watkinsville, GA address. Prior to JV7 being created, CPM provided non-joint venture

anesthesia services to ASC7 through TC Anesthesiology, LLC, a CPM non-joint venture "fee-for­

service" entity. See FFS2 below. JV7 succeeded TC Anesthesiology as the entity that serviced

ASC7.

        179.   Defendant Gastroenterology Consultants of Tuscaloosa, Inc. ("ASC7") is an

Alabama corporation that operates as an ASC. The ASC is owned by Dr. A.B. Reddy, MD.

        180.   Defendant Gastro Care, P.C. ("the Practice") is an Alabama professional

corporation through which Dr. A.B. Reddy, MD, conducts his private medical practice and refers

to JV7 and ASC7.

        181.   Both the ASC7 and the JV7 referring partners are located at 100 Rice Mine Road,

Tuscaloosa, AL, 35406. For purposes of the fraud at issue in the case, the referring partners are

one and the same.

        JV8:

        182.   Defendant LC Anesthesiology, LLC is a Georgia limited liability company

registered as a South Carolina Foreign Limited Liability Company. It is a joint venture ("JV8")

between CPM and Catawba Gastroenterology Land, LLC ("ASC8'').

        183.   JV8 was formed April 4, 2014. At that time the registered agent was Defendant

John R. Morgan, MD. The principal mailing address was identical to CPM's Athens, GA, address.

The current principal office address is identical to CPM's Watkinsville, GA address.

        184.   Defendant Catawba Gastroenterology Land, LLC ("ASC8") is a South Carolina

limited liability company that operates as an ASC. ASC8 is owned by Drs. Virnal Amin, MD, and

Victor M. Amato, MD.



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        185.    Defendant Catawba Gastroenterology, PA (the "Practice") is a South Carolina

professional association also owned by Drs. Vimal Amin, MD, and Victor M. Amato, MD and is

used by them to conduct their private medical practice and refer to N8 and ASC8.

        186.    Both the ASC8 and the N8 referring partners are located at 1380 Ebenezer Road,

Rock Hill, SC, 29732. For purposes of the fraud at issue in the case, the referring partners are one

and the same.

        JV9:

        187.    Defendant RG Anesthesia, LLC is a Georgia limited liability company and a joint

venture ("N9") between CPM and The Rome Endoscopy Center, Inc ("ASC9").

        188.    N9 was formed January 30, 2014. At that time the registered agent was Defendant

John R. Morgan, MD. The principal mailing address was identical to CPM's Athens, GA, address.

The current principal office address is identical to CPM's Watkinsville, GA address.

        189.    Defendant The Rome Endoscopy Center, Inc ("ASC9") is a Georgia profit

corporation that operates as an ASC. ASC9 is owned by Drs. Kenn E. Griffith, MD, Louis Lataif,

MD, and Roderick Remoroza, MD.

        190.    Defendant Rome Gastroenterology Associates, Inc (the "Practice"), is a Georgia

profit corporation also owned by Drs. Kenn E. Griffith, MD, Louis Lataif, MD, and Roderick

Remoroza, MD. which is used by them to conduct their private medical practice and refer to N9

and ASC9.

       191.     Both the ASC9 and the N9 referring partners are located at 11 John Maddox Drive

Rome, GA, 30165. For purposes of the fraud at issue in the case, the referring partners are one and

the same.

       JVlO:



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        192.    Defendant AC Anesthesiology, LLC is a Georgia limited liability company and a

joint venture ("N10") between CPM and Athens Vascular Surgery, LLC ("ASClO").

        193.    NlO was formed February 10, 2012. At that time the registered agent was

Defendant John R. Morgan, MD. The principal mailing address was identical to CPM's Bogart,

GA address. The current principal office address is identical to CPM's Watkinsville, GA address.

        194.    Defendant Athens Vascular Surgery, LLC ("ASC10") is a Georgia limited liability

company that operates as an ASC. ASClO is owned by Drs. David Sailors, MD, Jonathan Woody,

MD, and Jeffrey Pearce, MD.

       195.     Defendant University Surgical Associates of Athens, PC is a Georgia professional.

corporation also owned by Drs. David Sailors, MD, Jonathan Woody, MD, and Jeffrey Pearce,

MD through which they conduct their private medical practice and refer to N10 and ASC 1O.

       196.     Both the ASC10 and the NlO referring partners are located at 195 King Ave,

Athens, GA, 30606. For purposes of the fraud at issue in the case, the referring partners are one

and the same.

       JVll:

       197.     Defendant CF Anesthesia, LLC is a Georgia limited liability. company registered as

a Foreign Limited Liability Company in Florida. It is a joint venture ("NIl") between CPM and

Central Florida Endoscopy & Surgical Institute of Ocala, LLC ("ASCII").

       198.     NIl was formed May 13,2013. At that time the registered agent was Defendant

John R. Morgan, MD. The principal mailing address was identical to CPM's Athens, GA, address.

The current principal office address is identical to CPM's Watkinsville, GA address.




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        199.     Defendant Central Florida Endoscopy & Surgical Institute of Ocala, LLC

("ASCII") is a Florida limited liability company that operates as an ASC. ASCII is owned by Dr.

Vishnu Reddy, MD~

        200.     . Defendant 7 Hill Gastroenterology, P.A. is a Florida professional association also

owned by Dr. Vishnu Reddy, MD through which he conducts his private medical practice and

refers to NIl and ASCII.

        201.     Defendant Gastro Care Associates, LLC is another Florida limited liability

company owned by Dr. Vishnu Reddy,MD through which he conducts his private medical practice

and refers to NIl and ASC 11.

        202.     Both the ASCII and the Nll referring partners are located at 3256 S Pine Ave,.

Ocala, FL, 34471. For purposes of the fraud at issue in the case, the referring partners are one and

the same.

                 John DoeJVs

        203.     CPM, ETX, and their principals have continued to actively promote the sham joint

ventures and the FFS ventures since Relator's departure from CPM. See Exhibit 9 identifying the

eleven identified joint ventures and three fee for service entities.

        204.     Upon information and belief, there are numerous other joint ventures and venturers

which are materially identical in structure to those listed here by name and which are referred in

this Complaint as John Does 1-175 .

               Modality Two of the Fraud: Subsidizing the Drugs and Supplies of the ASe

       205.      In addition to forming sham Ns in order to pay kickbacks for referrals, CPM also

engaged in the practice of paying for the anesthesia drugs and supplies of its referrers, regardless




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of whether the referrers had joint ventures with CPM or were regular ASCs w:ith no joint-venture

relationship with CPM (the latter was referred to by CPM as "Fee for Service" clients).

        206.    CPM's practice of giving referring physicians "a thing of value" in the fonn of

anesthesia drugs, equipment, and supplies to induce patient referrals to CPM is a kickback in and

on itself that violates the FCA. See, e.g., United States and State a/Georgia ex rei. Adam Nauss v.

Sweet Dreams Nurse Anesthesia, et al., 5:14-CV..330, (Sweet Dreams agreed to pay a monetary

settlement to resolve allegations that it violated the False Claims Act and the Georgia False

Medicaid Claims Act when it provided free anesthesia drugs to ASCs in exchange for the ASCs

giving exclusive contracts to provide anesthesia services at those ASCs).

        207.    As previously explained, Medicare makes payments to ASCs for covered surgical

procedures, including ASC facility services provided in connection with the covered procedure.

This payment is known as the "facility fee." According to the CMS Ambulatory Surgical Center

Fee Schedule, ICN 006819 (December 2015) examples of covered ASC facility fees for covered

surgical procedures include:

            •   Nursing services, services furnished by technical personnel, and other related
                services;
            •   Patient use of ASC facilities;
            •   Drugs and biologicals for which separate payment is not made under the OPPS,
                surgical dressings, supplies, splints, casts, appliances, and equipment;
            •   Administrative, recordkeeping, and housekeeping items and services;
            •   Blood, blood plasma, and platelets, with the exception of those to which the blood
                deductible applies;
            •   Materials for anesthesia

        208.    Notwithstanding their inclusion in the facility fee, CPM, directly and through the

sham joint ventures, reimburses the ASCs the cost ofthe anesthesia drugs and, in at least one case,

the cost of supplies.




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        209.    In the alternative, CPM, directly and through the sham IVs, purchases the

anesthesia drugs and supplies directly and provides them to the ASCs.

        210.    Further, CPM, through the sham JVs, agreed to pay ASC JV partners for "storage

costs" for the anesthesia drugs and supplies even though these costs are the ASCs' obligation to

begin with and part ofthe facility fee paid by Medicare. See Exhibit 5A at Section 4.5, Anesthesia

Agreement:

        [JV] Drugs and Supplies. If requested by [REFERRING] GASTRO in the performance of
        its professional Services, [JV] will reimburse REFERRING GASTRO for the anesthetic
        drugs [Le. propofol] or purchase the drug separately and reimburse [REFERRING]
        GASTRO for cost of secure storage.

        211.    In addition to providing such subsidies to all of its joint ventures, CPM provided

such subsidies to its Fee for Service clients, as detailed below.

        212.    The structural components and documents for each FFS are materially identical.

        213.    CPM and the FFS clients enter into an Exclusive Agreement for Anesthesia

Services. See Exhibit 5B, AU Anesthesia, LLC Exclusive Agreement for Anesthesia Services.

        214.    CPM pays for all the drugs and supplies for each FFS client as a matter of course.

        215.    CPM's payment for drugs and supplies is nothing more than a method for CPM to

lock up referrals and pay a kickback for same, the very thing the OIG warned against in 2012 and

settled in United States and State of Georgia ex rei. Adam Nauss v. Sweet Dreams Nurse

Anesthesia, et a1.

       "Fee-for-Service" ("FFS") (non-JVs) Clients of CPM:



       216.    Defendant Middle Georgia Anesthesiology, LLC ("FFS 1") is a Georgia limited

liability company which operates as a fee for service management agreement venture between

CPM and both Peach State Surgical Centers,     Inc. and The Foot &   Ankle Surgery Center, L.L.C.


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FFS1 was formed June 4,2010. The principal mailing address was identical to CPM's Bogart, GA

address. The current principal office address is identical to CPM's Watkinsville, GA address.

        217.   Defendant Peach State Surgical Centers, Inc. is a Georgia profit corporation that

operates as an ASC. The ASC is owned by Dr. Sarvepalli Jokhoi, DPM.

       218.    Defendant Foot & Ankle Center of Middle Georgia, LLC (''the Practice") is a

Georgia limited liability through which Dr. Sarvepalli Jokhoi, DPM conducts his private medical

practice and refers to Defendant Peach State Surgical Centers, Inc.

       219.    Both the Peach State Surgical Centers, Inc and Foot & Ankle Center of Middle

Georgia, LLC referring partners are located at 1040 Morningside Drive, Perry, GA, 31069

       220.    Defendant The Foot & Ankle Surgery Center, L.L.C. ("ASC6B") is a Georgia

limited liability company that operates as an ASC. The ASC is owned by Dr. Alap P. Shah, DPM.

       221.    Defendant Foot & Ankle of West Georgia, P.C. ("the Practice") is a Georgia

professional corporation through which Dr. Alap P. Shah, DPM conducts his private medical

practice and refers to Defendant The Foot & Ankle Surgery Center, L.L.C.

       222.    Both The Foot & Ankle Surgery Center, L.L.C. and Foot & Ankle of West Georgia,

P.C. referring partners are located at 2751 Warm Springs Road, Columbus, GA, 31904.

       FFS2:

       223.    Defendant TC Anesthesiology, LLC ("FFS2") is a Georgia limited liability

company which operated as a fee for service management agreement venture between CPM and

Gastroenterology Consultants of Tuscaloosa, Inc. This N was formed August 4, 2014. The

principal mailing address was identical to CPM's Athens, GA address. The current principal office

address is identical to CPM's Watkinsville, GA address. This entity was replaced by the CPM­




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Gastroenterology Consultants of Tuscaloosa, Inc. joint venture known as Excel Anesthesia, LLC.

See N7.

       224.    Defendant Gastroenterology Consultants of Tuscaloosa, Inc. is an Alabama

corporation that operates as an ASC. The ASC is owned by Dr. A.B. Reddy, MD.

       225.    Defendant Gastro Care, P.C. (''the Practice") is an Alabama professional

corporation through which Dr. A.B. Reddy, MD, conducts his private medical practice and refers

to FFS2 and Gastroenterology Consultants of Tuscaloosa, Inc.

       226.    Both the Gastroenterology Consultants of Tuscaloosa, Inc. and the Gastro Care,

P.C. referring partners are located at 100 Rice Mine Road, Tuscaloosa, AL, 35406.

       FFS3:

       227.    Defendant AU Anesthesiology, LLC ("FFS3") is a Georgia limited liability

company which operated as a fee for service management agreement venture between CPM and

Georgia Surgicare, LLC. FFS3 was formed September 19,2012. At that time the registered agent

was Defendant John R. Morgan, MD. The principal mailing address was identical to CPM's

Athens, GA, address. The current principal office address is identical to CPM's Watkinsville, GA

address.

       228.    Defendant Georgia Surgicare, LLC is a Georgia limited liability company that

operates as an ASC. Its principal place of business in 367 Athens Highway, Loganville, Georgia.

It is owned DY Dr. Christopher Ibikunle, MD.

       229.    Defendant John Doe 2 (the "Practice',) is also owned by Dr. Christopher Ibikunle,

MD and is used by him to conduct his private medical practice and refer to the Georgia Surgicare,

LLCASC.

                           THE REGULATORY FRAMEWORK


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        Anti-Kickback Statute

        230.   In 1972, Congress enacted the federal health care Anti-Kickback Statute ("AKS"),

42 U.S.C. § 1320a-7b et seq., which prohibited payments, directly or indirectly designed to induce
                              -                                    .
a person to refer or recommend services that may be paid for by federal government. AKS also

provides that those who knowingly and willfully solicit or receive, offer or pay anything of value,

whether directly or indirectly, in exchange for or to induce the referral of items or services for

which a federal health care program may make payment shall be guilty of a felony. 42 U.S.C. §

1320a-7b(b)(1 ).

       231.    To be a kickback, the value that is conveyed to a referrer does not need to be an

outright payment to the referrer. There are many artifices by which value can be conveyed; to wit,

forgiving an obligation conveys value, charging less than fair market value conveys value,

providing services of anything in kind without a commensurate payment conveys value.

Regardless of how value is conveyed, it is a kickback if one purpose is to induce referrals for

services covered by Medicare or Medicaid. See, e.g., United States v. Greber, 760 F.2d 68,69 (3rd

Cir. 1985), cert. denied, 474 U.S. 988 (1985) (holding that under the "one purpose" test "if one

purpose of the payment was to induce referrals, the medicare [sic] statute has been violated."

       232.    The purpose of the AKS is to protect the Medicare and Medicaid programs from

increased costs and abusive practices resulting from provider decisions that are based on self-

interest rather than the cost, quality of care, or necessity of health services. Violations of AKS

form a basis for False Claims Act ("FCA") liability. See 42 U.S.C. § 1320(a)-7b(g). Thus,

complying with AKS is essential to protecting Medicare and Medicaid and is material to payment

and participation in government-funded health care programs.




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        233.   Further, upon enrollment in the Medicare program, Defendants agree to not present

or cause to be presented a false claim (Le., a claim that violates the law, including Stark or AKS):

        I will not knowingly present or cause to be presented a false or fraudulent claim for
        payment by Medicare, and I will not submit claims with deliberate ignorance or reckless
        disregard of their truth or falsity.

CMS Form 855B, Section 15 (Certification), 6.

        234.   Providers must bill for anesthesia services in the CMS-1500 form, which requires.

the provider to certify that each bill complies with the program's requirements for reimbursement:

       Because this form is used by various government and private health programs, See separate
       instructions issued by applicable programs.
        ***
       Notice [as to Medicare, CHAMPUS, FECA, and Black Lung programs]: any person who
       knowingly files a statement of claim containing any misrepresentation or any false,
       incomplete or misleading information may be guilty of a crime ... and may be subject to
       civil penalties.
       ****
       Notice [as to Medicaid]: This is to certify that the foregoing information is true, accurate
       and complete. I understand that payment and satisfaction of this claim will be from Federal
       and State funds and that any false claims, statements, or documents, or concealment of a
       material fact, may be prosecuted under Federal or State laws.

eMS-ISOO Form.

       235.    Thus, at enrollment and with each billing for anesthesia services, Defendants

necessarily certified compliance with such laws. Those certifications were false because the

services were not reimbursable as a result of the kickback scheme at issue in this case, thereby

rendering each bill a false statement and a false Claim for reimbursement.

   The Federal False Claim Act ("FCA")

       236.    A cause of action under the FCA arises when any person knowingly presents or

causes to be presented a false or fraudulent claim for payment or approval by government funds.

31 U.S.C. §3729(a)(I)(A).



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            237.   A cause of action under the FCA also arises when any person knowingly makes,

uses, or causes to be made or used, a false record or statement material to a false or fraudulent

claim. 31 U.S.C. §3729(a)(l)(B).

            238.   As defmed under 31 U.S.C. §3729(b)(l), "knowing" and "knowingly" means: (i)

acting with actual knowledge of the information; (ii) acting in deliberate ignorance of the truth or

falsity of the information; or (iii) acting in reckless disregard of the truth or falsity of the

information and that statute makes clear that it does not require proof of specific intent to defraud.

            239.   In addition, the FCA provides that any person who knowingly submits or causes to

be submitted a false or fraudulent claim for payment or approval is liable for a civil penalty of not

less than $5,500 and up to $11,000 for each such claim, and three times the amount of the damages

sustained by the government.

            240.   The qui tam provision of-the FCA empowers persons having information regarding

a false or fraudulent claim against the government to bring an action on behalf of the government.

            241.   An FCA complaint is filed under seal and without service on the defendants and

remains under seal while the government investigates the allegations in the Complaint and

determines whether to join the action.

        Materiality

        242.       Anesthesia referrals are not reimbursable by Medicare or Medicaid if the parties to

the referral exchanged remuneration where one purpose of the value exchanged was to induce the

referral.

        243.       Violation of the anti-kickback statute is material to reimbursement and a basis for

FCA liability. See, e.g., United States ex rei. Wilkins v. United Health Group, Inc., 659 F.3d 295,

314 (3d Cir. 2011) (government does not get what it bargained for when a defendant is paid by



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CMS for services tainted by a kickback); United States ex reI. McNutt v. Haleyville Medical

Supplies, Inc., 423 F.3d 1256, 1257 (11th Cir. 2005) ("undisputed that a violator of the Anti-

Kickback Statute is disqualified from participating in a Medicare program"); United States ex rei.

Pogue v. Diabetes Treatment Centers ofAmerica, 565 F.Supp.2d 153, 159 (D.D.C. 2008) ("Legion

... cases have held [that] violations of [the] AKS ... can be pursued under the FCA, since they

would influence the Government's decision of whether to reimburse Medicare claims"). Indeed,

as clarified in the Patient Protection and Affordable Care Act, P.L. 111-148, a claim filed in

violation of the AKS is a false claim for purposes of the FCA. 42 U.S.C. § 1320(a)-7b(g).

        Knowledge

       244.    For purposes of the FCA, a defendant is deemed to have the requisite scienter in

this regard ifhe/she "has 'actual knowledge of the information,' 'acts in deliberate ignorance of

the truth or falsity of the information,' or 'acts in reckless disregard of the truth or falsity of the

information.'" 31 U.S.C. § 3729(b)(I)(A).

       245.    Defendants knew that their arrangements violated AKS.

       246.    Defendants went so far as to specifically include a provision in the N operating

agreements acknowledging the problematic nature of the arrangement. See Exhibit 4 at Pg. 2,

Section 3 .1 (a), Pro-forma Operating Agreement.

       ARTICLE III
       BUSINESS OF COMPANY
       3.1 Permitted Businesses. The business of the Company shall be:

       (a) To provide professional anesthesiology services to ambulatory surgical centers and
       other medical providers (At the outset of its business, it is acknowledged by the Members
       that a level of uncertainty exists concerning Federal Anti-Kickback regulations, safe
       harbors, and safeguards in its area of practice, but the Company intend to conduct its
       business in a manner that does not violate the Federal Anti-Kickback Statute; therefore,
       whereas the Company will be providing services to patients covered by Federal health care
       programs from its origination, the Company will not bill any Federal health care program



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         for services provided unless the Company is satisfied it fully meets a safe harbor or verified
         safeguards. )

         247.     Further, Defendants knew that compliance with AKS laws is a condition of

 participation in and payment by the Medicare, Medicaid, and other government programs, as a

 result of their enrollment and periodic submission of claims to Medicare.

         248.     Almost on a daily basis and amounting to hundreds of occasions, CPM principals

 expressly commented that the reason for the joint venture and the subsidies to referrers was to

 secure ''their business." Clearly, therefore, one purpose for the schemes at issue in this complaint

 was to induce referrals for services paid by government programs.

                                               COUNT I

                False Claims Act - Presentation of False Claims - 31 U.S.C. § 3729(a)(1).

         249.     Relator re-alleges and incorporates paragraphs 1 - 248 of this Complaint as if fully

 set forth herein.

         250.     In performing the acts described above, Defendants through their own acts or

 through the acts of their officers, knowingly and/or recklessly submitted or caused to be submitted

 false or fraudulent claims for payment or approval in violation of 31 U.S.C. § 3729(a)(1).

         251.     The United States, unaware of the foregoing circumstances and conduct of the

 Defendants, made full payments, which resulted in its being damaged in an amount to be

. determined.

                                              COUNTn

                     False Claims Act - False Statements - 31 U.S.C. §3729(a)(2).

        252.      Relator re-alleges and incorporates paragraphs 1 - 248 of this Complaint as if fully

set forth herein.

        253;      In performing the acts described above, Defendants through their own acts or


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through the acts of their officers, knowingly made, used or caused to be made or used, a false

record of statement to get false or fraudulent Claims paid or approved by the Government in

violation of31 U.S.C. §3729(a)(2).

        254.    The United States, unaware of the foregoing circumstances and conduct of the

Defendants, made full payments which resulted in its being damaged in an amount to be

determined.

                                           COUNTll

                    Violation of the Georgia State False Medicaid Claims Act

        255.    Relator realleges and reincorporate paragraphs 1- 248 of this Complaint as iffully

set forth herein.

        256.    Relator also seeks to recover treble damages and civil penalties under the Georgia

State False Medicaid Claims Act.

        257.    Ga. Code Ann. § 49-4-168.1 et seq. provides liability for any person who-

                Knowingly presents or causes to be presented to the Georgia Medicaid program a
                false or fraudulent claim for payment or approval;

                Knowingly makes, uses, or causes to be made or used, a false record or statement
                to
                get a false or fraudulent claim paid or approved by the Georgia Medicaid program;

                Conspires to defraud the Georgia Medicaid program by getting a false or fraudulent
                claim allowed or paid;

               Knowingly makes, uses, or causes to be made or used, a false record or statement
               material to an obligation to payor transmit property or money to the Georgia
               Medicaid program, or knowingly conceals or knowingly and improperly avoids or
               decreases an obligation to payor transmit property or money to the Georgia
               Medicaid program.

       258.    Defendant violated Ga. Code Ann. § 49-4-168.1 and knowingly caused claims to

be made, used and presented to the State of Georgia by its violation of federal and state laws from



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at least 2010 to the present.

        259.    The State of Georgia, by and through the Georgia Medicaid program and other state

health care programs, and unaware ofDefendant's fraudulent and illegal practices, paid the claims

submitted by health care providers and third party payers in connection therewith.

        260.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express condition

of payment of claims submitted to the State of Georgia in connection with Defendant's fraudulent

and illegal practices.

        261.    Had the State of Georgia known that Defendant was violating the federal and state

laws cited herein, it wound not have paid the claims submitted by health care providers and third

party payers in connection with defendant's fraudulent and illegal practices.

        262.    As a result of defendant's violations of Ga. Code Ann. § 49-4-168.1, the State of

Georgia has been damaged in an amount to be determined.

        263.    Relator is a private person with direct and independent knowledge ofthe allegations

of this Complaint, who has brought this action pursuant to Ga. Code Ann., § 49-4-168.2(b) on .

behalf of himself and the State of Georgia.

                                              COUNT IV

                            Violation of the Florida False Claims Act

        264.    Relator realleges and reincorporate paragraphs 1- 248 of this Complaint as if fully

set forth herein.

        265.    Relator also seeks to recover treble damages and civil penalties under the Florida

False Claims Act, West's F.S.A. § 68.081 et seq.

        266.    West's F.S.A. § 68.082 provides liability for any person who­



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                Knowingly presents or causes to be presented a false or fraudulent claim for
                payment or approval;

                Knowingly makes, uses, or causes to be made or used a false record or statement
                material to a false or fraudulent claim;

                Conspires to commit a violation of this subsection.

        267.    Defendant violated West's F.S.A. § 68.082 from at least 2010 to the present by

engaging in the fraudulent and illegal practices described herein.

        268.    Defendant furthennore violated West's F.S.A. § 68.082 and knowingly caused false

claims to be made, used and presented to the State of Florida, as described herein .

        269.    The State of Florida, by and through the State of Florida Medicaid program and

other state health care programs, and unaware of Defendant's fraudulent and illeg~ practices, paid

the claims submitted by health care providers and third payers in connection therewith.

        270.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon infonnation and belief, also an express condition

of payment of claims submitted to the State of Florida in connection with Defendant's fraudulent

and illegal practices.

        271.    Had the State of Florida known that Defendant were violating the federal and state

laws cited herein, it would not have paid the claims submitted by health care providers and third

party payers in connection with Defendant's fraudulent and illegal practices.

        272.   As a result of Defendant's violations of West's F.S.A. § 68.082 the State of Florida

has been damaged in an amount far in excess of millions of dollars exclusive of interest.

       273.    Relator is private person with direct and independent knowledge of the allegations

of this Complaint, who has brought this action pursuant to West's F.S.A. § 68.083(2) on behalf of

herself and the State of Florida.



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                                            COUNT V

                       Violation of the Texas Medicaid False Claims Act

        274.    Relator realleges and reincorporate paragraphs 1- 248 of this Complaint as if fully

set forth herein.

        275.    Relator also seeks to recover double diunages and civil penalties under V.T.C.A.

Hum. Res. Code § 36.001 et seq.

        276.    V.T.C.A. Hum. Res. Code § 36.002, in relevant part, provides liability for any

person who-­

   (1) knowingly makes or causes to be made a false statement or misrepresentation of a material
       fact to permit a person to receive a benefit or payment under the Medicaid program that is
       not authorized or that is greater than the benefit or payment that is authorized;
   (2) knowingly conceals or fails to disclose information that permits a person to receive a
       benefit or payment under the Medicaid program that is not authorized or that is greater than
       the benefit or payment that is authorized;
   (3) knowingly applies for and receives a benefit or payment on behalf of another person under
       the Medicaid program and converts any part of the benefit or payment to a use other than
       for the benefit of the person on whose behalf it was received

   *            *      *
   (6) knowingly presents or causes to be presented a claim for payment under the Medicaid
       program for a product provided or a service rendered by a person who:

       (A) is not licensed to provide the product or render the service, if a license is required; or
       (B) is not licensed in the manner claimed;

   (7) knowingly makes or causes to be made a claim under the Medicaid program for:
       (A) a service or product that has not been approved or acquiesced in by a treating physician
       or health care practitioner;
       (B) a service or product that is substantially inadequate or inappropriate when compared to
       generally recognized standards within the particular discipline or within the health care
       industry; or

   *           *       *
   (12)      knowingly makes, uses, or causes the making or use of a false record or statement
      material to an obligation to payor transmit money or property to this state under the
      Medicaid program, or knowingly conceals or knowingly and improperly avoids or


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        decreases an obligation to payor transmit money or property to this state under the
        Medicaid program.

        277.    Defendants violated the Texas Hum Res. Code. § 36.002 from at least 2010 to the

present by engaging in the fraudulent and illegal practices described herein. Defendants further

violated V.T.C.A. Hum. Res. Code § 36.002 and knowingly caused false claims to be made, used
                                                                  ,
and presented to the State of Texas from at least 2010 to the present by their violation of federal

and state laws, including, as described herein.

        278.    The State of Texas, by and through the Texas Medicaid program and other state

healthcare programs, and unaware of Defendant's fraudulent and illegal practices, paid the claims

submitted by health care providers and third party payers in connection therewith.

        279.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was implied, and upon information and belief, also an express condition of

payment of claims submitted to the State of Texas in connection with Defendant's fraudulent and

illegal practices.

        280.    Had the State of Texas known that Defendant was violating the federal and state

laws cited herein, it wound not have paid the claims submitted by health care providers and third

party payers in connection with Defendant's fraudulent and illegal practices.

        281.    As a result of Defendant's violations ofV.T.C.A. Hum. Res. Code § 36.002, the

State of Texas has been damaged in an amount to be determined.

        282.    Relator is a private person with direct and independent knowledge ofthe allegations

ofthis Complaint, who has brought this action pursuant to V.T.C.A. Hum. Res. Code § 36.101 on

behalf ofherself and the State of Texas.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Relators respectfully request that this Court enter judgment against

Defendants as follows:

       a. That the United States be awarded damages in the amount of three times the damages

          sustaihed by the United States because of the false claims and fraud alleged in this

          Complaint, as the Civil False Claims Act, 31 U.S.C. § 3729 et seq. provides;

       b. That civil penalties of $5,500 to $11,000 be imposed for each and every false claim

          that the Defendants caused to be presented to the United States;

       c. That pre- and post-judgment interest be awarded, along with reasonable attorneys' fees,

          costs, and expenses which Relators necessarily incurred in bringing and pressing this

          case;

      d. That Relators be awarded the maximum amount allowed pursuant to the False Claims

          Act;

       e. That the State of Georgia be awarded damages as the Georgia State Medicaid False

          Claims Act provides; specifically:

          a. Three times the amount ofactual damages which the State of Georgia has sustained

              as a result of defendant's fraudulent and illegal practices;

          b. A civil penalty on not less than $5,500 and not more than $ 11,000 for each false

              claim which defendant caused to be presented to the State of Georgia;

          c. Prejudgment interest; and

          d. All costs incurred in bringing this action.

      f. That Relators be awarded the maximum amount allowed pursuant to the Georgia State

          Medicaid False Claims Act;



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g. That the State of Florida be awarded damages as the Florida State Medicaid False

      Claims Act provides; specifically:

     a. Three times the amount ofactual damages which the State ofFlorida has sustained

          as a result of Defendant's fraudulent and illegal practices;

     b. A civil penalty of not less than $5,000 and not more than $10,000 for each false

          claim which Defendant's caused to be presented to the State of Florida;

     c. Prejudgment interest; and

     d. All costs incurred in bringing this action.

h. That Relators be awarded the maximum amount allowed pursuant to the Florida State

     Medicaid False Claims Act;

i.   That the State of Texas be awarded damages as the Texas State Medicaid False Claims

     Act provides; specifically:

     a. Damages at two times the value of any payment or monetary or in-kind benefit

          provided under the Medicaid program, directly or indirectly, as a result of the

          unlawful acts set forth above, as provided by the Texas Human Resources Code §

          36.052(a)(I) & (4)

     b. Civil penalties of $15,000 for each and every unlawful act set forth above that

          resulted in injury to a person younger than 18 years ofage, as provided by the Texas

          Human Resources. Code § 36.052(3)(A)

     c. Pre- and post-judgment interest, Tex. Hum. Res. Code § 36.052(a)(2),

     J.   That Relators be awarded the maximum amount allowed pursuant to the Texas

     State Medicaid False Claims Act. .

k. That this Court award such other and further relief as it deems proper.


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                      DEMAND FOR A JURy TRIAL

      Relators demand a jury trial on all claims alleged herein.




                             . Marc Vezina
                            GA Bar No. 465449
                            TX Bar No. 24000114
                            LA Bar No; 24683
                            MI Bar No: P76232
                            Monica P. Navarro P52985
                            280 N. Old Woodward
                            Suite LL20·
                            Binningham. MI 48009
                            (248) 558-2700
                            jmv@yeziIialaw.CQm
                            mnavarro@yezinalaw.com




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